Case 4:22-cv-00777-ALM Document 1-1 Filed 09/09/22 Page 1 of 1 PageID #: 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DENISE COX                                     §
                                               §             CIVIL ACTION NO.
VS.                                            §             __________________
                                               §
WAL-MART STORES TEXAS, LLC                     §


      INDEX OF ATTACHED STATE COURT PLEADINGS AND FILING DATES


 1.    State court docket sheet                                       September 2, 2022
 2.    Plaintiff’s Original Petition                                   August 9, 2022
 3.    Issuance of Citation for Wal-Mart Stores Texas, LLC             August 10, 2022
 4.    Return of Service of citation for Wal-Mart Stores Texas,        August 16, 2022
       LLC
 5.    Defendant’s Original Answer                                    September 1, 2022




                                       EXHIBIT A
